
PER CURIAM:
*261This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant, a former inmate at the Eastern Regional Jail, seeks to recover $ 129.99 for a pair of “Rocky” boots and $55.00 plus tax for a Harley Davidson silk shirt. Claimant alleges that these items were not returned to him when he was discharged from the facility.
In its Answer, respondent admits the validity of the claim in the amount of $129.99. Respondent denies the amount of $55.00 plus tax for the shirt. According to the claimant’s property inventory sheet, two shirts were released to him. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination. Claimant has agreed to accept payment in the amount of $129.99.
This Court has taken the position in prior claims that if a bailment situation has been created, respondent is responsible for property of an inmate which is taken from that inmate, remains in its custody, and is not produced for return to the inmate.
Accordingly, the Court makes an award to the claimant herein in the amount of $129.99.
Award of $129.99.
